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UNITED STATES OF AMERICA,

Plaintiff,
v. No. 04-20493-JDB
IMHONA ARNOLD EKO-ISENALUMHE,

Defendant.

 

ORDER WAIVING DEFENDANT’S APPEARANCE

 

Defendant has moved the Court to waive his appearance at the report date of
August 29, 2005, for good cause shown and with no objection from the government and
the motion is granted Defendant Will not be required to appear at the report set for

August 29, 2005. Defense counsel will appear on his behalf

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lt is so ORDERED this the mday of , -2005.

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 2:04-CR-20493 Was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

Marty B. McAfee
MCAFEE & MCAFEE
246 Adams Ave.
l\/lemphis7 TN 38103

Dan NeWsom

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable .l. Breen
US DISTRICT COURT

